Case 3:09-cr-00418-HEH-RCY Document 141 Filed 09/24/19 Page 1 of 14 PageID# 717




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Richmond Division


  UNITED STATES OF AMERICA,

                                                    Criminal Action No. 3:09CR4I8-1-HEH


  JOSEPH R. ROACH,

         Defendant.


                                  MEMORANDUM OPINION
                                  (Granting § 2255 Motion)

         Joseph R. Roach, a federal inmate proceeding pro se, filed this 28 U.S.C. § 2255

  Motion("§ 2255 Motion," ECF No.97)arguing that his firearm convictions are invalid

  mvAex Johnson v. United States, 135 S. Ct. 2551 (2015). For the reasons discussed below,

  the § 2255 Motion will be granted.

                             I.     PROCEDURAL HISTORY

         On January 19,2010, a grand jury charged Roach in a nine count Superseding

  Indictment. The three counts relevant here are conspiracy to interfere with commerce by

  robbery, in violation of 18 U.S.C. § 1951(a),("conspiracy to commit Hobbs Act

  robbery")(Count One); possessing and brandishing a firearm in furtherance of a crime of

  violence, and aiding and abetting that offense, to wit, conspiracy to interfere with

  commerce by force, as charged in Count One; and interference with commerce by force

 ("Hobbs Act robbery"), as charged in Count Two(Count Three); and, a second count of

  possessing and brandishing a firearm in furtherance of a crime of violence, and aiding

  and abetting that offense, to wit, conspiracy to commit Hobbs Act robbery as charged in
Case 3:09-cr-00418-HEH-RCY Document 141 Filed 09/24/19 Page 2 of 14 PageID# 718




Count One, and interference with commerce by force, as charged in Count Eight(Count

Nine). (Super. Indictment 8-9, ECF No. 37.)'

       On February 22, 2010, Roach pled guilty to Counts One, Three, and Nine. (ECF

No. 45, at 1-2.) The Plea Agreement stated as follows:

       The defendant agrees to plead guilty to Counts One, Three, and Nine ofthe
       pending Superseding Indictment.
              a.      Count One charges that the defendant did knowingly and
       unlawfully conspire with others the obstruct, delay, and affect commerce by
       robbery, in violation of Title 18 United States Code, Section 1951....
              b.      Count Three charges that the defendant, in furtherance of a
       crime of violence for which he may be prosecuted in a court of the United
       States,to wit: conspiracy to interfere with commerce by threats and violence,
       did knowingly and unlawfully possess and brandish,firearms,in violation of
       Tile 18, United States Code, Section 924(c)....
              c.      Count Nine charges that the defendant, in furtherance of a
       crime of violence for which he may be prosecuted in a court ofthe United
       States, to wit; conspiracy to interfere with commerce by threats and
       violence, did knowingly and unlawfully possess and brandish, and did aid
       and abet, counsel, induce and cause to be possessed and brandished,
       firearms, in violation of Title 18, United States Code, Section 924(c).

(ECF No. 45, at 2-9(emphasis added).) Critically, the Plea Agreement omitted the

substantive Hobbs Act robbery crimes charged in Counts Two and Eight as predicates for

the § 924(c) charges in Counts Three and Nine.

       On June 3, 2010, the Court sentenced Roach to 70 months of incarceration on

Count One,84 months on Count Three, and 300 months of incarceration on Count Nine

to be served consecutively. (J. 2, ECF No.66.)




 Count One contained a series of"Overt Acts" that lists at least four separate robberies.
Case 3:09-cr-00418-HEH-RCY Document 141 Filed 09/24/19 Page 3 of 14 PageID# 719




                                        11.    ANALYSIS


       In Johnson v. United States 135 S. Ct. 2551 (2015),the Supreme Court held "that

imposing an increased sentence under the residual clause of the Armed Career Criminal

Act[("ACCA")] violates the Constitution's guarantee of due process." Id. at 2563.^ The

Johnson Court concluded that the way the Residual Clause of the ACCA, 18 U.S.C.

§ 924(e)(2)(B)(ii), defined "violent felony" was unconstitutionally vague because the

clause encompassed "conduct that presents a serious potential risk of physical injury to

another," which defied clear definition. Id. at 2557-58 (citation omitted). Subsequently,

in Welch v. United States, 136 S. Ct. 1257(2016), the Supreme Court held that"Johnson

announced a substantive rule [oflaw] that has retroactive effect in cases on collateral

review." Id. at 1268.


       In his § 2255 Motion, Roach asserts that            Johnson, conspiracy to commit

Hobbs Act robbery can no longer qualify as crimes of violence under 18 U.S.C.

§ 924(c)(3), and thus, his conviction for Counts Three and Nine must be vacated. As

explained below, recent decisions from the Supreme Court and the Fourth Circuit support



 The ACCA provides that

       [i]n the case of a person who violates section 922(g) of this title and has
       three previous convictions by any court referred to in section 922(g)(1) of
       this title for a violent felony or a serious drug offense, or both, committed
       on occasions different from one another, such person shall be fined under
       this title and imprisoned not less than fifteen years ....

18 U.S.C. § 924(e)(1). Under the Residual Clause, the term violent felony had been "defined to
include any felony that 'involves conduct that presents a serious potential risk of physical injury
to another.'" Johnson, 135 S. Ct. at 2555 (quoting 18 U.S.C. § 924(e)(2)(B)).
Case 3:09-cr-00418-HEH-RCY Document 141 Filed 09/24/19 Page 4 of 14 PageID# 720




Roach's challenge to Counts Three and Nine where his firearm conviction was predicated

upon conspiracy to commit Hobbs Act robbery as stated in his Plea Agreement.

       A.     Conspiracy to Commit Hobbs Act Robbery Cannot Serve as Valid
              Predicate Crimes of Violence for Counts Three and Nine

       Title 18 U.S.C. section 924(c)(1)(A) provides for consecutive periods of

imprisonment when a defendant uses or carries a firearm in furtherance of a crime of

violence. The baseline additional period ofimprisonment is five years. 18 U.S.C.

§ 924(c)(l)(A)(i). Ifthe defendant brandishes the firearm, the additional period of

imprisonment increases to at least seven years. Id. § 924(c)(l)(A)(ii). And,ifthe

defendant discharges the firearm, the additional period ofimprisonment increases to at

least ten years. Id. § 924(c)(l)(A)(iii).

       At the time ofRoach's convictions, the United States could demonstrate that an

underlying offense constitutes a crime of violence if it established that the offense is a

felony and satisfies one oftwo requirements. Namely,the statute defined a crime of

violence as any felony:

      (A)[that] has as an element the use, attempted use, or threatened use of physical
          force against the person or property of another [(the "Force Clause")], or
      (B) that by its nature, involves a substantial risk that physical force against the
          person or property of another may be used in the course of committing the
            offense [(the "Residual Clause")].

Id. § 924(c)(3). The Supreme Court recently invalidated the Residual Clause. United

States V. Davis, 139 S. Ct. 2319, 2336(2019)(holding that "§ 924(c)(3)(B) is

unconstitutionally vague").
Case 3:09-cr-00418-HEH-RCY Document 141 Filed 09/24/19 Page 5 of 14 PageID# 721




       A defendant is guilty ofHobbs Act robbery if he or she "obstructs, delays, or

affects commerce or the movement of any article or commodity in commerce, by robbery

... or attempts or conspires so to do     " 18 U.S.C. § 1951(a). That statute defines

"robbery" as

       the unlawful taking or obtaining of personal property from the person or in
       the presence of another, against his [or her] will, by means of actual or
       threatened force, or violence, or fear ofinjury,immediate or future, to his[or
       her] person or property, or property in his [or her] custody or possession, or
       the person or property of a relative or member of his [or her] family or of
       anyone in his [or her] company at the time ofthe taking or obtaining.

Id. § 1951(b)(1). The Fourth Circuit recently determined that conspiracy to commit

Hobbs Act robbery fails to satisfy the Force Clause. See United States v. Simms,914

F.3d 229(4th Cir. 2019).

       In Simms, the defendant pled guilty to conspiracy to commit Hobbs Act robbery

and to brandishing a firearm during and in relation to a "crime of violence," but later

challenged his brandishing conviction on the theory that Hobbs Act conspiracy could not

be considered a "crime of violence" under 18 U.S.C. § 924(c)(3). 914 F.3d at 232-33.

Initially, the parties and the Fourth Circuit agreed that,

       conspiracy to commit Hobbs Act robbery—does not categorically qualify as
       a crime of violence under the [Force Clause], as the United States now
       concedes. This is so because to convict a defendant of this offense, the
       Government must prove only that the defendant agreed with another to
       commit actions that, if realized, would violate the Hobbs Act. Such an
       agreement does not invariably require the actual, attempted, or threatened
       use of physical force.
Case 3:09-cr-00418-HEH-RCY Document 141 Filed 09/24/19 Page 6 of 14 PageID# 722




Id. at 233-34 (citations to the parties' material omitted). Thereafter, the Fourth Circuit

concluded that the Residual Clause of§ 924(c) is void for vagueness. Id. at 236; accord

Davis, 139 S. Ct. at 2336(holding that"§ 924(c)(3)(B) is unconstitutionally vague").

       In the wake Davis and Simms,in other cases before this Court, the Government

has conceded that "conspiracy to commit Hobbs Act robbery cannot serve as valid

predicate crime of violence for [a] § 924(c) charge" and agreed to vacating the conviction

and sentence. United States v. Oliver, No. 3:11CR63-HEH,2019 WL 3453204, at *3

(E.D. Va. July 30, 2019). In the present case, the Government does not dispute that the

conspiracy to commit Hobbs Act robbery cannot serve as valid predicate crimes of

violence for the § 924(c)charges in Counts Three and Nine. Nevertheless, the

Government contends that Roach is not entitled to relief for several reasons explained in

Part II.C below.


       B.     The Government's Abandoned Statute of Limitations Argument

       Initially, the Government filed a Motion to Dismiss the § 2255 Motion contending

that it is barred by the relevant statute of limitations.^ However, it appears that the


^ Section 101 ofthe Antiterrorism and Effective Death Penalty Act("AEDPA")amended 28
U.S.C. § 2255 to establish a one-year period of limitation for the filing of a § 2255 Motion. As
pertinent here, 28 U.S.C. § 2255(f) now reads:

       (f)    A 1-year period oflimitation shall apply to a motion under this section. The
              limitation period shall run from the latest of—
              (1)     the date on which thejudgment ofconviction becomes final;

              (3)     the date on which the right asserted was initially recognized
                      by the Supreme Court, if that right has been newly
                      recognized by the Supreme Court and made retroactively
                      applicable to cases on collateral review....
Case 3:09-cr-00418-HEH-RCY Document 141 Filed 09/24/19 Page 7 of 14 PageID# 723




Government has abandoned this argument in its Supplemental Memorandum.'' The

Government's decision not to pursue this defense is wise because it seems that Davis

announced a new rule of constitutional law retroactively applicable to cases on collateral

review which would entitle Roach to a belated commencement ofthe limitation period

under 28 U.S.C. § 2255(f)(3).^ Because the Government has abandoned its statute of

limitation argument,the Court will not address it further.

       C.      The Government's Arguments Against Granting Relief

       The Government asserts that Roach is not entitled to relief because: (1) Counts

Three and Nine are still predicated upon valid crimes of violence, the Hobbs Act robberies

charged in Counts Two and Eight;(2)Roach's guilty plea waived a collateral attack based

on Johnson', and,(3)Roach procedurally defaulted any challenge to his convictions based

on Johnson. As explained below, these arguments lack merit.




28 U..C. § 2255(f).

'' The Court granted a Motion to Suspend the Briefing Schedule based on several pending cases.
When the Government eventually filed its Supplemental Memorandum, although it raised a
number ofprocedural defenses, it did not renew the argument that the § 22255 Motion was barred
by the statute oflimitations.

^ This provision delays the commencement ofthe limitation period until "the date on which the
right asserted was initially recognized by the Supreme Court, if that right has been newly
recognized by the Supreme Court and made retroactively applicable to cases on collateral
review." 28 U.S.C. § 2255(f)(3). The Supreme Court makes a case retroactive on collateral
review through a single express holding or by multiple cases "if the holdings in those cases
necessarily dictate the retroactivity ofthe new rule." Tyler v. Cain,533 U.S. 656,666(2001).
Welch, which held Johnson to be a new rule and retroactive,"logically permit[s] no other
conclusion than that the rule [in Davis] is retroactive." Id. at 669(O'Connor, J. concurring).
Case 3:09-cr-00418-HEH-RCY Document 141 Filed 09/24/19 Page 8 of 14 PageID# 724




               1.     Counts Three and Nine are No Longer Predicated on Valid
                      Crimes of Violence


       Initially, the Government contends that Roach's § 924(c) convictions are still

predicated upon a valid crime of violence, namely the Hobbs Act robberies charged in

Counts Two and Eight. The Court agrees that Hobbs Act robbery still constitutes a valid

crime of violence under the Force Clause. See United States v. Mathis,932 F.3d 242,

266(4th Cir. 2019). The Government, however, in drafting the Plea Agreement, chose to

discard Hobbs Act robbery as crime of violence predicates for the § 924(c)charges in

Count Three and Nine.


       The Government persists that the it can still rely upon the Hobbs Act robbery

because,"[b]oth the indictment and the statement offacts tie the § 924(c) counts to which

defendant pled guilty to the substantive offenses of interference with commerce by

robbery." (ECF No. 127, at 2.) The Government, however, fails to cite the Court to any

authority whatsoever for the proposition that it can rely upon those references in

documents outside the Plea Agreement to broaden the basis the Plea Agreement.^ And,


® The limited authority the Court discovered on the subject rejects the Government's position. See
Benitez v. United States, Nos. 16-cv-23974-UU, 13-cr-20606-UU, 2017 WL 2271504, at *5
(S.D. Fla. Apr. 6,2017). In that case, the pertinent § 924(c)count in the Indictment(Count Four),
listed multiple predicate crimes of violence and drug trafficking crimes. Id. The Government
argued that "because the two drug offenses included in Count 4 of the indictment are unaffected
by Johnson, Count 4 has not been invalidated and Movant was appropriately sentenced under
§ 924(c)." Id. The Court rejected this argument because in the
       plea agreement in this case, the United States explicitly agreed that Movant was
       pleading guilty to a violation of§ 924(c) in furtherance of a crime of violence, not
       a drug trafficking crime.... The Government is bound by the language ofthe plea
       agreement. The Government cannot now claim that Movant pled guilty to § 924(c)
       in furtherance of both a crime of violence and a drug trafficking offense despite the
       fact that the plea agreement, plea colloquy,[] and Judgment and Conviction Order
       do not reflect that assertion in any way.

                                                   8
Case 3:09-cr-00418-HEH-RCY Document 141 Filed 09/24/19 Page 9 of 14 PageID# 725




established principles regarding plea agreements do not favor the Government's

argument. See United States v. Jordan, 509 F.3d 191, 196(4th Cir. 2007)(noting that the

Government is held "to a greater degree ofresponsibility than the defendant...for

imprecisions or ambiguities in plea agreements."(quoting United States v. Harvey, 791

F.3d 294, 300(4th Cir. 1986))); United States v. Monroe, 580 F.3d 552,556(7th Cir.

2009)(observing that courts "review the language ofthe plea agreement objectively and

hold the government to the literal terms ofthe plea agreement" (quoting United States v.

 Williams, 102 F.3d 923,927(7th Cir. 1996))). Accordingly, on the merits. Roach has

established that, as set forth in the Plea Agreement, his convictions for using, carrying,

and brandishing a firearm in furtherance of a crime of violence were predicated solely on

the conspiracy to commit Hobbs Act robbery charged in Count One. Under Simms,

conspiracy to commit Hobbs Act robbery is not a viable crime of violence for a

conviction under § 924(c). Thus, in the absence of any viable procedural defense, his

convictions on Count Three and Nine must be vacated.

              2.     Roach's Guilty Plea did not Waive His Right to Bring His Current
                      Challenge

       The Government asserts that Roach's unconditional guilty plea waives the

constitutional challenge he seeks to bring in his § 2255 Motion. The Supreme Court

recently examined that issue and rejected the Government's assertion in Class v. United




Id. (footnote omitted)(citing United States v. Taylor, 77 F.3d 368, 370(11th Cir. 1996); United
States V. Jefferies, 908 F.2d 1520,1527(11th Cir. 1990).
Case 3:09-cr-00418-HEH-RCY Document 141 Filed 09/24/19 Page 10 of 14 PageID# 726




 States, 138 S. Ct. 798(2018)7 In Class, the Supreme Court examined,"whether a guilty

  plea by itself bars a federal criminal defendant from challenging the constitutionality of

 the statute of conviction on direct appeal [and] h[e]ld that it does not." Id., 138 S. Ct. at

  803. Therefore, Roach's guilty plea itself does not foreclose Roach's current challenge to

 the constitutionality ofthe statute under which he was convicted.

         Ofcourse, as part ofthe plea bargaining process,"a criminal defendant may waive

  his right to attack his conviction and sentence collaterally [and on direct appeal], so long

  as the waiver is knowing and voluntary." United States v. Lemaster, 403 F.3d 216, 220

 (4th Cir. 2005). The Government, however, does not argue, and on this record, could not

  argue, that Roach explicitly waived his right to collaterally attack his conviction as part

  ofthe Plea Agreement.®

         Even though Roach has not waived his current claim, there is one more significant

  hurdle to overcome. Generally,"claims not raised on direct appeal may not be raised on

 collateral review unless the petitioner shows cause and prejudice" to excuse his

  procedural default. Massaro v. United States, 538 U.S. 500,504,(2003)(citing United

 States V. Frady,456 U.S. 152, 167-168(1982); Bousley v. United States, 523 U.S. 614,

 621-622(1998)). Although Roach procedurally defaulted his present claim by failing to


'The Government cites Davila v. United States, 843 F.3d 729(7th Cir. 2016)for the proposition
 that Roach's guilty plea prevents Roach from challenging his conviction as imconstitutional.
 Davila predates the Supreme Court's decision in Class. The Government fails to acknowledge
 Class, much less explain why that decision does not control the outcome here.

  ® As part of his Plea Agreement, Roach only agreed to waive "the right to appeal the conviction
 and any sentence imposed within the statutory maximum... on the grounds set forth in Title 18,
 United States Code, Section 3742 or on any ground whatsoever, in exchange for the concessions
 made by the United States in this plea agreement." (Plea Agreement^ 6,ECF No.45.)

                                                10
Case 3:09-cr-00418-HEH-RCY Document 141 Filed 09/24/19 Page 11 of 14 PageID# 727




 raise it at trial and on direct appeal, as explained below, Roach demonstrates cause and

 prejudice to excuse his default.

               3.     Roach Has Demonstrated Cause and Prejudice to Excuse His
                      Procedural Default

        A change in the law may constitute cause for a procedural default if it creates "a

 claim that 'is so novel that its legal basis is not reasonably available to counsel.'"

 Bousley, 523 U.S. at 622(quoting Reed v. Ross, 468 U.S. 1, 16(1984)). In Reed, the

 Court identified three nonexclusive situations in which an attorney may lack a

 "reasonable basis" to raise a novel claim:

        First, a decision of this Court may explicitly overrule one of our precedents.
        Second, a decision may "overtur[n] a longstanding and widespread practice
        to which this Court has not spoken, but which a near-unanimous body of
        lower court authority has expressly approved." And,finally, a decision may
       "disapprov[e] a practice this Court arguably has sanctioned in prior cases."

 Reed, 468 U.S. at 17 (alterations in original)(internal citations omitted)(quoting United

 States V. Johnson, 457 U.S. 537, 551 (1982)).

        Under Reed, Roach has shown cause for failing to assert a vagueness challenge to

 the Residual Clause of§ 924(c) at trial or on direct appeal. The Court entered judgment

 on Roach's case on June 3, 2010. (ECF No. 66.) At that time the Supreme Court already

 had rejected a vagueness challenge to the ACCA's nearly identical Residual Clause in

 James v. United States, 550 U.S. 192(2007). In 2011, the Supreme Court reaffirmed

 James in Sykes v. United States, 564 U.S. 1 (2011).

       In 2015, in Johnson, the Supreme Court invalidated the ACCA's Residual Clause

 as unconstitutionally vague. "In doing so, the Supreme Court recognized it previously


                                               11
Case 3:09-cr-00418-HEH-RCY Document 141 Filed 09/24/19 Page 12 of 14 PageID# 728




 had 'rejected suggestions by dissenting Justices that the residual clause violates the

 Constitution's prohibition of vague criminal laws' in James and Sykes and declared '[o]ur

 contrary holdings in James and Sykes are overruled.'" Rose v. United States, 738 F,

 App'x 617,626(11th Cir. 2018)(quoting Johnson, 135 S. Ct. at 2556,2563). Thereafter,

 the rule in Johnson was made retroactive to cases on collateral review. See Welch, 136 S.

 Ct. at 1268.


        If Roach were challenging ACCA's Residual Clause his "case [would] fall[]

 within the first situation identified in Reed\ when the Supreme Court ultimately

 invalidated the residual clause as unconstitutionally vague \vi Johnson in 2015, it

 'explicitly overrule[d]' two of its own precedents on the exact same issue." Rose,738 P.

 App'x at 627(third alteration in original)(quoting Reed,468 U.S. at 17).

        Nevertheless, given the similarity between the ACCA's Residual Clause and

 § 924(c)'s Residual Clause, Roach satisfies the third circumstance identified in Reed\ the

 decision in Johnson disapproved "a practice [the Supreme] Court arguably has sanctioned

 in prior cases." Reed,468 U.S. at 17(quoting Johnson, 457 U.S. at 551). "[T]he

 Supreme Court's jurisprudence prior to Johnson effectively foreclosed any attacks on

 § 924(c)(3)(B). The Supreme Court's 'sanction ofthe prevailing practice' ofconcluding

 risk offorce/injury statutes were not unconstitutional was fairly direct." Lee v. United

 States, Nos. CV-16-8138-PCT-JAT(JFM), CR-05-0594-PCT-JAT,2018 WL

 4906327, at *17(D. Ariz. July 6, 2018),report and recommendation adopted as modified

sub nom. Lee v. USA, Nos. CV-16-08138-PCT-JAT, CR-05-594-PCT-JAT,2018 WL

4899567(D. Ariz. Oct. 9,2018)(citations omitted); see Dota v. United States, 368 F,

                                             12
Case 3:09-cr-00418-HEH-RCY Document 141 Filed 09/24/19 Page 13 of 14 PageID# 729




 Supp. 3d 1354, 1362(C.D. Cat. 2018)("It was only after the Supreme Court invalidated

 the residual clause ofthe ACCA in Johnson, and certainly after the Supreme Court

 invalidated the identically worded residual clause of§ 16(b), that Petitioner's current

 claim—^that the residual clause of§ 924(c)(3)(B) was unconstitutionally vague—lost its

 novelty."); Royer v. United States, 324 F. Supp. 3d 719, 736(E.D. Va. 2018). Thus, in

 2010, Roach did not have a "reasonable basis" upon which to raise a vagueness challenge

 to the Residual Clause of924(c). Reed,468 U.S. at 17. "And as a result, his failure to do

 so 'is sufficiently excusable to satisfy the cause requirement.'" Rose,738 F. App'x at

 627 {quoXmg Reed,468 U.S. at 17).

        In order to demonstrate prejudice. Roach must show a "reasonable probability"

 that, without the error, the result ofthe proceedings would have been different. Strickler

 V. Greene, 527 U.S. 263, 289(1999). It is now plain that the Court erroneously treated

 conspiracy to commit Hobbs Act robbery as a viable predicate for Roach's two § 924(c)

 convictions. That error added 384 months to Roach's sentence. Therefore, Roach has

 demonstrated prejudice. Royer, 324 F. Supp. 3d at 736.

        Finally, the Government argues that ifthe Court concludes that Roach's § 924(c)

 convictions are invalid, "it should reform the convictions to that lesser-included offense"

 of Hobbs Act robbery and resentence him accordingly. (ECFNo. 127, at 7-8.) The

 Court is not convinced that such a practice is authorized or appropriate. Moreover, as

 explained above, Roach's § 924(c)convictions were predicated upon conspiracy to

 commit Hobbs Act robbery. Roach already has been convicted and sentenced for

 conspiracy to commit Hobbs Act robbery. The Government fails to explain how the

                                             13
Case 3:09-cr-00418-HEH-RCY Document 141 Filed 09/24/19 Page 14 of 14 PageID# 730




 Court could impose another sentence for that offense without running afoul of the Double

 Jeopardy Clause. Accordingly, the Court rejects the Government's request to reform

 Roach's convictions on Counts Three and Nine.

        D.     Counts Three and Nine Must Be Vacated

        In light of Davis's invalidation of the Residual Clause and the Fourth Circuit's

 determination in Simms that conspiracy to commit Hobbs Act robbery is not a valid

 predicate violent felony under the Force Clause, Roach's convictions in Counts Three and

 Nine, and resulting 84-month and 300-month sentences are no longer valid. Accordingly,

 Roach's convictions on Counts Three and Nine will be vacated.

                                    III. CONCLUSION

        The Government's Motion to Dismiss (ECF No. 105) will be denied. The§ 2255

 Motion (ECF No. 97) will be granted. Roach's convictions and sentences on Counts

 Three and Nine will be vacated. Within fourteen (14) days of the date of entry hereof,

 the parties shall file their position as to whether the Court needs to conduct a full

 resentencing or may simply enter a corrected judgment.

        An appropriate Order shall accompany this Memorandum Opinion.



                                                              Isl
                                     HENRY E. HUDSON
 Date: SGtt 2&f 20l'i                SENIOR UNITED STATES DISTRICT JUDGE
 Richmond, Vi/ginia




                                               14
